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               IN THE DISTRICT COURT OF THE UNITED STATES
                       DISTRICT OF SOUTH CAROLINA
                            BEAUFORT DIVISION

UNITED STATES OF AMERICA                             CRIMINAL NO:   C\·. l\- c.x _ '{5'5~
               v.                                          ORDER FOR
                                                         BENCH WARRANT
EDWIN CARL HAMILTON



     The Clerk of Court is hereby directed to issue a warrant for

the above-named defendant,              EDWIN CARL HAMILTON,        as requested by

the United States Attorney.               Amount and conditions of bond to be

set by the judicial officer before whom the defendant initially

appears.


                                           u                               JUDGE


Charleston, South Carolina

December   ___l:r:__,   2021


I SO MOVE:

M. RHETT DEHART
ACTING UNITED STATES ATTORNEY



By: s/ J. Carra Henderson
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